 8:09-cr-00029-LSC-FG3        Doc # 94   Filed: 10/11/11     Page 1 of 1 - Page ID # 309




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:09CR29
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
DENNIS WIESE,                                )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant's motion for leave to appeal in

forma pauperis (Filing No. 92).

      The Court denied the Defendant's § 2255 motion and his motion for a certificate of

appealability. Now the Defendant filed a notice of appeal with respect to the Court's

Memorandum and Order and Judgment denying the § 2255 motion. Because a notice of

appeal from that decision is improper, the motion for leave to appeal in forma pauperis is

denied.

      IT IS ORDERED:

      1.     The Defendant's motion for leave to appeal in forma pauperis (Filing No. 92)

             is denied; and

      2.     The Clerk is directed to mail a copy of this Order to the Defendant at his last

             known address.

      DATED this 11th day of October, 2011.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
